[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION re Motion to Strike (#103)
This is a subrogation action in which the named plaintiff alleges that it provided homeowners' insurance coverage to David and Barbara Caracaus (the insureds). The defendant (CLP) provided electrical power and service to the insureds' home at No. 8 Heath Court, Cheshire. At about 5 A.M. on April 10, 1996, while the insurance coverage was in effect, a tree which was adjacent to a CLP pole fell and, in doing so, contacted the pole and dislodged high voltage conductors thereon from their insulators. As a result, electrical current flowed through the earth from the conductors. The flow of electricity caused a fire at the insured residence, and the building, its appurtenant structures, and contents were destroyed.
The plaintiff is subrogated to the rights of the insureds and seeks recovery from CLP of payments made to the insureds as a result of the loss and pursuant to the terms of the policy.
The plaintiff has filed a three-count complaint in which it alleges negligence and recklessness on the part of CLP and strict liability based on its engagement in an ultrahazardous activity. Before the court is the defendant's motion to strike the recklessness and strict liability claims as well as claims for punitive and interest damages.
The plaintiff's allegations and claims and the position of the defendant as advanced in its motion to strike are identical to those set out in the case of Prudential Property  CasualtyInsurance Company v. Connecticut Light  Power Company, Case No. 96-255016, Superior Court, Judicial District of New Haven at Meriden. A third case, Metropolitan Property  Casualty InsuranceCompany v. Connecticut Light  Power Company, Case No. 96-255011, in the same court, also arises from the same facts and raises the same issues as are presented in the Prudential case.
The parties in each of the three cases were, through their attorneys, heard in oral argument on March 27, 1997. It was CT Page 6598 agreed at that time that the court's decision in one case would apply equally to the other two cases. Accordingly, it is the decision of the court, for reasons more particularly set forth inPrudential, that the defendant's motion to strike the recklessness and strict liability counts, as well as the related claim for punitive damages, is granted. Similarly, the motion, insofar as it seeks to strike the claim for interest damages is denied.
It is so ordered.
Gaffney, J.